                Case 4:21-cr-00500 Document 1 Filed on 10/14/21 in TXSD Page 1 of 6
            Sealed                                                       United States Courts
Public and unofficial staff access                                     Southern District of Texas
     to this instrument are
   prohibited by court order                                                    FILED
                                                                          October 14, 2021
                                                                     Nathan Ochsner, Clerk of Court


                                                                                4:21cr500
Case 4:21-cr-00500 Document 1 Filed on 10/14/21 in TXSD Page 2 of 6
Case 4:21-cr-00500 Document 1 Filed on 10/14/21 in TXSD Page 3 of 6
Case 4:21-cr-00500 Document 1 Filed on 10/14/21 in TXSD Page 4 of 6
Case 4:21-cr-00500 Document 1 Filed on 10/14/21 in TXSD Page 5 of 6
      Case 4:21-cr-00500 Document 1 Filed on 10/14/21 in TXSD Page 6 of 6

              h.     one slide out "brace" for AR-15 style rifle;

              1.     assorted additional firearm parts and their accessories.


                                                    A TRUE BILL:

                                                          Signature on File

   JENNIFER B. LOWERY
   ACTING UNITED STATES ATTORNEY




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                                               6
